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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,

                  Plaintiff,                 Case No. 21-cv-06546

        v.                                   Hon. John Robert Blakey

 VINTAGE BRAND, LLC,

                  Defendant.


                         JOINT INITIAL STATUS REPORT

        Plaintiff The Board of Trustees of the University of Illinois (“Plaintiff,”

“Illinois,” “the University,” or “the University of Illinois”), by and through its

attorneys, and Defendant Vintage Brand, LLC (“Defendant” or “Vintage), by and

through its attorneys, pursuant to this Court’s standing order and minute entry

of December 8, 2021 (Dkt. No. 9), hereby present their joint status report as

follows:

1.      Type of Initial Status Report (i.e., Joint or Individual).

        This is a joint status report.

2.      Service of Process.
        Vintage has been served and its counsel of record has appeared in this

matter. The parties anticipate Vintage’s lead counsel will later appear pro hac

vice.

3.      The Nature of the Case.

        a.    Plaintiff’s counsel:

              David S. Becker – Lead Trial Attorney
              Andrew Goldstein

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      b.     Basis for Federal Jurisdiction.
      This Court’s jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331, 1338,

2201 and 2202, 15 U.S.C. §1121, and Fed. R. Civ. P. 13. The Court has supplemental

jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367(a) and Fed. R. Civ.

P. 13 because those claims are so related to the University’s claims that they form part

of the same case or controversy and derive from a common nucleus of facts.

      c.     Nature of the Claims.
      The University of Illinois has brought claims against Vintage alleging past

and on-going infringement of the University’s federally registered trademarks

and trade dress, trademark counterfeiting, dilution, and false designation of

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origin, all in violation of the Lanham Act. The University has also brought claims

for trademark infringement and dilution in violation of Illinois law, violations of

Illinois’ Uniform Deceptive Trade Practices Act (“UDTPA”), and common-law

unfair competition under Illinois law. The University’s claims are based on

Vintage’s manufacture and sale of clothing and memorabilia displaying the

University’s trademarks and trade dress, and Vintage’s acts to associate its

goods with the University of Illinois. The University alleges that Vintage not only

uses the University of Illinois’ trademarks and trade dress on its products, but

that Vintage does so in direct competition with then University and its licensee’s

products, and that Vintage’s products are not licensed or otherwise authorized

by the University.

      Vintage denies all claims asserted in this action, and disagrees with the

University’s characterization of Vintage’s business model. Vintage disputes that

the University owns trademark or trade dress rights in the alleged marks

asserted, and notes the University has failed to define the alleged marks at issue

with the requisite particularity. Vintage asserts defenses that: (1) the University

may not rely on “trademark rights” arising from public domain artistic works to

extend monopolies and stifle legitimate competition; (2) the University’s claims

are precluded by the doctrines of utilitarian and aesthetic functionality; (3) the

University’s claims are precluded by the equitable doctrine of unclean hands; (4)

the University’s claims are precluded where both the University’s and Vintage’s

application of the alleged marks to merchandise is merely ornamental and does

not engender the commercial impression of a source-identifying trademark; (5)


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the University’s claims are precluded to the extent they extend to Vintage’s

display and printing of descriptive terms used in good faith to describe the goods

of Vintage; (6) the University’s claims are precluded to the extent they rely on

alleged marks that have been abandoned; and (7) the University’s claims are

precluded by the First Amendment.

      Vintage will also file counterclaims against the University for at least the

following: (1) fraudulent procurement and/or renewal of registrations; (2)

abandonment of alleged marks; and (3) the University failing to use its alleged

marks as trademarks and instead using them in a merely ornamental manner.

      d.      Legal and Factual Issues Anticipated.
      The case is in an early stage, and the parties do not necessarily agree on

what the major legal and factual issue in the case will be. However, the parties

anticipate the major issues in the case may include, but not be limited to, the

following:

      1.     Whether the University holds valid, existing, and enforceable

             trademarks and trade dress covering the trademarks and trade dress

             at issue in this litigation.

      2.     What “trademarks” and “trade dress” are actually at issue in this

             litigation, and whether those purported marks are valid or otherwise

             subject to cancellation.

      3.     Whether Vintage uses in interstate commerce marks that are identical

             with, substantially indistinguishable from, and/or substantially

             similar to the University’s trademarks and trade dress at issue.


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  4.   Whether Vintage’s conduct was licensed or otherwise authorized by

       the University.

  5.   Whether Vintage required any license or other authorization from the

       University.

  6.   Whether Vintage’s acts have caused, or are likely to cause, confusion,

       mistake, or deception regarding the source or origin of Vintage’s

       products.

  7.   Whether Vintage’s conduct was knowing, willful, and/or intentional.

  8.   Whether Vintage’s conduct have caused, or will continue to cause,

       irreparable harm to the University.

  9.   Whether Vintage’s conduct has caused damage to the University and,

       if so, the measure of any actual damage suffered by the University.

  10. Whether Vintage’s conduct creates a false association between the

       products at issue in this litigation the University trademarks and

       trade dress.

  11. Whether Vintage’s conduct leads consumers to believe that the

       products at issue in this litigation are sponsored by, associated with,

       authorized by, or otherwise affiliated with the University.

  12. Whether Vintage’s conduct is diluting and/or will dilute the

       University’s trademarks and/or trade dress.

  13. Whether the University fraudulently procured registrations or

       renewals for its alleged marks.




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     14. Whether the doctrine of unclean hands arising from the University’s

          fraudulent procurement precludes its assertion of rights.

     15. Whether the University has abandoned any of the purported marks

          or trade dress at issue.

     16. Whether the University’s use of any purported marks is ornamental

          only, and not use as a “trademark.”

     17. Whether the United States Supreme Court’s ruling in Dastar Corp. v.

          Twentieth Century Fox Film Corp., 539 U.S. 23 (2003), precludes the

          University’s claims regarding its “trademark rights.”

     18. Whether the doctrines of utilitarian and aesthetic functionality

          preclude the University’s claims.

     19. Whether the First Amendment protects Vintage’s merchandise

          because it consists of expressive works.

     20. Whether the University’s application of its alleged marks to

          merchandise is merely ornamental and does not engender the

          commercial impression of a source-identifying trademark.

     21. Whether the University’s claims under Illinois State law are properly

          pled where the University has not registered the “marks” at issue in

          Illinois State.

     e.    Damages and Relief.
     The University of Illinois alleges that as a result of Vintage’s conduct, the

University is entitled to declaratory, injunctive, and monetary relief. The

University seek damages and relief including, at least, the following: (a)


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declaratory judgments in the University’s favor finding that that Vintage has (i)

infringed the University’s trademark rights, (ii) counterfeited the University’s

marks, (iii) diluted the University’s marks, and (iv) created a false association

with the University; (b) preliminary and permanent injunctions enjoining and

restraining Vintage from (i) further infringing the University’s mark, (ii) using

confusingly similar designs, (iii) making statements in promotional materials or

advertisement indicating association or affiliation with the University, and/or (iv)

using any designation that is likely to tarnish, blur, or dilute the distinctive

quality of the University’s marks; (c) judgment requiring Vintage to deliver to the

University all infringing products; (d) judgment awarding damages in amounts

to be determined at trial including actual damages and/or disgorgement of

Vintage’s ill-gotten gains; (e) judgment awarding the University all available

statutory damages; and (f) judgment awarding the University its attorneys’ fees

and costs along with pre- and post-judgment interest.

      Vintage denies that the University is entitled to any relief sought. Vintage

seeks the following relief from the Court: (1) dismissal of all claims in the

Complaint with prejudice; (2) exercise of authority under the Lanham Act, 15

U.S.C. § 1119, to order the Commissioner of the United States Patent and

Trademark Office to cancel the federal trademark registrations pleaded by the

University; (3) award Vintage its costs and fees incurred in this lawsuit pursuant

to Section 35(a) of the Lanham Act, 15 U.S.C. § 1117(a) and/or 765 ILCS

1036/45.




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4.     Pending Motions and Case Plan.

       a.    Pending Motions.
       There are no motions pending at this time. The parties have met and

conferred regarding Vintage’s response to the Complaint and agreed that

Defendant shall answer or otherwise plead in response to the Complaint on or

before January 24, 2022.      On this date, Vintage intends to file a Motion to

Dismiss Plaintiff’s Complaint, or in the Alternative, to Strike and for a More

Definite Statement pursuant to Fed. R. Civ. P. 12(b)(6), 12(f) and 12(e) as a

responsive pleading to the Complaint.

       b.    Proposal for Discovery and a Case Management Plan.

             (1) General type of discovery needed.
       The parties believe that written discovery, including at least interrogatories

and document requests, is necessary and warranted in this case. The parties

anticipate that electronically stored information will be requested and produced

by both parties. The parties do not believe that there is a need for bifurcated

discovery. The parties believe that discovery is necessary on at least the following

topics: (1) the University’s trademarks and trade dress, their ownership, use,

and registration; (2) Vintage’s manufacture, use and sale of the products that

are the subject of the University’s Complaint including the creation, design, and

strategy behind those products; (3) similarity and confusion relating to the

Vintage products that are the subject of the University’s Complaint; (4) the

University’s entitlement to monetary damages and injunctive relief; (5) the

University’s submissions in procurement of the purported marks at issue; (6) the


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extent of the University’s abandonment of any alleged marks at issue, and

actions or public announcements regarding the same; (7) third party discovery

regarding the actions or public announcements related to No. 6; and (8) the

University’s profits (or lack thereof) related to the licensing or use of the

purported marks. In addition to written discovery, the parties believe that

depositions are necessary and warranted in this lawsuit; however, the parties do

not believe there is any need to deviate from the standard allotment of ten

depositions per side. The parties anticipate the use of corporate-representative

depositions pursuant to Fed. R. Civ. P. 30(b)(6) and potential expert discovery on

issues relating to both liability and damages.

            (2) A date for Rule 26(a)(1) disclosures.
      The parties present separate positions regarding the date for Rule 26(a)(1)

disclosures as follows:


Plaintiff’s Position:     The University states that this matter is a straight-

forward infringement case and that the Complaint has presented legitimate

claims with more than sufficient detail and specificity and that there is no reason

to delay the discovery process while Defendant pursues an unnecessary motion

to dismiss. As a result, the University proposes that the parties should exchange

26(a)(1) disclosures within 28 days, on or before February 18, 2022.


Defendant’s Position: Vintage’s forthcoming motion to dismiss will address

the validity of the University’s claims as alleged in the Complaint, including

whether they are alleged with requisite particularity such that Vintage can

properly defend itself.   As such, the Court’s ruling on this motion will have

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material effect on the scope of discovery proceedings going forward. Moreover,

Vintage’s answer, affirmative defenses and counterclaims will not be on file until

an order issues on Vintage’s motion to dismiss. Under these circumstances it is

impractical to expect the parties to propound informed and targeted discovery

requests, and unreasonable for deadlines to begin running when the claims and

defenses are yet undefined. In light of these considerations, Vintage proposes

that in the event the University’s Complaint survives the motion to dismiss, Rule

26(a)(1) disclosures should be exchanged 14 days following Vintage’s filing of its

answer, affirmative defenses and counterclaims.


            (3) A date to issue written discovery.

       The parties present separate positions regarding the date to issue written

discovery consistent with the discussion in paragraph 4(b)(2) above:


Plaintiff’s Position:    Consistent with the reasons discussed above, the

University proposes that discovery should commence immediately and that the

parties should exchange initial written discovery within 28 days, on or before

February 18, 2022.


Defendant’s Position: Consistent with the reasons discussed above, Vintage

proposes that discovery should not proceed until resolution of its forthcoming

motion to dismiss, and written discovery requests may be exchanged 14 days

following Vintage’s filing of its answer, affirmative defenses and counterclaims.




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              (4) Confidentiality order.
      The parties anticipate filing a joint motion for a protective order regarding

the handling of confidential and potentially highly confidential information based

on the Court’s Model Confidentiality Order.

              (5) Health Insurance Portability and Accountability Act (HIPAA)
                  waivers.
      None.
              (6) Fact discovery completion date.
      The parties present separation positions regarding the completion of fact

discovery consistent with the discussion in paragraph 4(b)(2) above:


Plaintiff’s Position:     Consistent with the reasons discussed above, the

University proposes that the fact-discovery cut-off should be October 28, 2022.


Defendant’s Position: Consistent with the reasons discussed above, Vintage

proposes that, in the event Plaintiff’s Complaint survives Vintage’s motion to

dismiss, fact discovery should close 120 days following the date on which Vintage

files its answer, affirmative defenses and counterclaims.

              (7) Expert discovery completion date (include                proposed
                  deadlines for expert disclosures and depositions).

      The parties propose the following expert discovery schedule that will

proceed after the close of fact discovery:

              -   Deadline for expert reports on issues where a party bears the

                  burden of proof: 45 days after close of fact discovery

              -   Deadline for responsive expert reports and for responding

                  parties to depose initially disclosed experts:

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                  45 days after the deadline for initial expert reports

              -   Deadline for expert reply reports and for parties to depose

                  responsive experts:

                  30 days after the deadline for responsive expert reports.

             (8) Filing of dispositive motions.
      Dispositive motions, if any, shall be due 45 days after the deadline for reply

expert reports.

             (9) Tentative trial date.
      The parties agree that, particularly in light of their disputes regarding

other timing of discovery discussed above, it is difficult to provide a reasonably

certain date for trial of this matter at this early stage. In light of that uncertainty,

the parties state that they can be trial ready 45 days after the Court issues any

ruling on dispositive motions filed by either party. Should there be no dispositive

motions filed, the parties can be trial ready 45 days after the close of expert

discovery.


      c.     Request for Jury trial and probable length of trial.
      The University has demanded a trial by jury. Although it is difficult to

estimate the length of a trial at this early stage, the parties believe the case could

be tried in approximately between one and two weeks.

   5. Consent to Proceed Before a Magistrate Judge.

      The parties have discussed the potential advantages of a Magistrate Judge

referral and have not unanimously consented to proceed before a Magistrate

Judge.


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   6. Status of Settlement Discussions.

      a. Status of settlement discussions.

      The parties have not had any substantive settlement discussions.

      b. Whether the parties request a settlement conference.

      The parties do not believe that a settlement conference would be fruitful

at this early stage in the litigation.


 Dated: January 21, 2022                  Respectfully submitted,

                                          By: /s/ David S. Becker____________

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